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                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                             Charlottesville Division

    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, TYLER MAGILL, APRIL
    MUNIZ, HANNAH PEARCE, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, THOMAS BAKER, and JOHN
    DOE,

                           Plaintiffs,
    v.

    JASON KESSLER, RICHARD SPENCER,
    CHRISTOPHER CANTWELL, JAMES
    ALEX FIELDS, JR., VANGUARD
    AMERICA, ANDREW ANGLIN,           Civil Action No. 3:17-cv-00072-NKM
    MOONBASE HOLDINGS, LLC, ROBERT
    “AZZMADOR” RAY, NATHAN DAMIGO,
    ELLIOT KLINE a/k/a/ ELI MOSLEY,
    IDENTITY EVROPA, MATTHEW          JURY TRIAL DEMANDED
    HEIMBACH, MATTHEW PARROTT a/k/a
    DAVID MATTHEW PARROTT,
    TRADITIONALIST WORKER PARTY,
    MICHAEL HILL, MICHAEL TUBBS,
    LEAGUE OF THE SOUTH, JEFF SCHOEP,
    NATIONAL SOCIALIST MOVEMENT,
    NATIONALIST FRONT, AUGUSTUS SOL
    INVICTUS, FRATERNAL ORDER OF THE
    ALT-KNIGHTS, MICHAEL “ENOCH”
    PEINOVICH, LOYAL WHITE KNIGHTS OF
    THE KU KLUX KLAN, and EAST COAST
    KNIGHTS OF THE KU KLUX KLAN a/k/a
    EAST COAST KNIGHTS OF THE TRUE
    INVISIBLE EMPIRE,

                           Defendants.



         PLAINTIFFS’ OPPOSITION TO DEFENDANT CANTWELL’S OBJECTION TO
                                   DEPOSITION
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                                   PRELIMINARY STATEMENT

          Despite this Court’s clear order specifically granting Plaintiffs leave to depose Defendant

   Christopher Cantwell pursuant to Fed. R. Civ. P. 30(a)(2)(B), see ECF No. 869, Cantwell objects

   to Plaintiffs’ properly-noticed deposition of him on grounds that it is “untimely, and unduly

   burdensome.” ECF. No. 930 at 1. Additionally, Cantwell seeks the appointment of a “guardian

   ad litem” – at Plaintiffs’ expense – to assist him in the deposition process, even though he

   previously had counsel in this case who withdrew from representing him based in part on

   Cantwell’s own misconduct in this litigation. Cantwell’s contentions are baseless on both counts.

   First, there is simply no grounds to deny Plaintiffs the opportunity they are afforded under Rule

   26(b)(1) to depose a named Defendant in a civil case, particularly where the Court has specifically

   granted Plaintiffs leave to do just that. Second, as the Court recently noted, the Court has authority

   to appoint a GAL for a minor or incompetent party who is not represented by counsel. Fed. R.

   Civ. P. 17(c)(2). That situation plainly does not apply to Cantwell. To the contrary, Mr. Cantwell

   finds himself without counsel because of his own intentional malfeasance and he has represented

   himself aggressively and competently since becoming pro se. This Court should deny Cantwell’s

   requests.

                                         FACTUAL BACKGROUND

          Cantwell is not just a named Defendant in this case, he also was one of the more prominent

   purveyors of violence at the event itself. On January 23, 2020, Cantwell was arrested in the District

   of New Hampshire on January 23, 2020, and he has been in federal custody since that date. See

   U.S. v. Cantwell, 20-cr-00006 PB (D.N.H., Jan. 23, 2020), ECF. No. 4.
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           Depositions on the merits did not begin in earnest until the summer of 2020. 1 On July 1,

   2020, during the period that both sides were deposing witnesses, and in the midst of the first wave

   of the COVID-19 pandemic, the Court amended the scheduling order, stating that “depositions of

   incarcerated parties and witnesses may be taken after the July 17, 2020 deadline.” ECF No. 791

   at 8. Fact discovery concluded on July 17, 2020. By that time, no incarcerated witnesses or parties

   had been deposed.

           On September 3, 2020, pursuant to Rule 30(a)(2)(B) of the Federal Rules of Civil

   Procedure, Plaintiffs sought leave to depose Cantwell, pursuant to Federal Rule of Civil Procedure

   30(a)(2)(B), because he was incarcerated. See ECF No. 859. Plaintiffs referred in that motion to

   the amended scheduling order permitting depositions of incarcerated parties beyond the close of

   fact discovery. Id. at 2. Approximately one week later, on September 11, 2021, the Court granted

   Plaintiffs’ request, noting that “Plaintiffs have not yet had the opportunity to depose Cantwell by

   oral questions, and they are entitled to do so under Rule 26(b)(1).” ECF No. 869.

           Because Cantwell was facing an imminent trial at the time, Plaintiffs refrained from

   deposing him immediately. Cantwell was convicted after trial on September 28, 2020, of one

   count of transmitting extortionate communications and one count of threatening to injure property

   or reputation. US v. Cantwell, 20-cr-06-01 PB (D.N.H., Sept. 28, 2020), ECF No. 114. He was

   originally scheduled to be sentenced on January 4, 2021, but the sentencing was ultimately

   continued until February 24, 2021. Plaintiffs refrained from seeking to depose Cantwell until after

   he was sentenced. On February 24, 2021, Cantwell was sentenced by Judge Paul Barbadoro to

   forty-one months in prison ensuring he will likely remain in prison for the entirety of this litigation.

   Plaintiffs then served Cantwell a deposition notice on March 3, 2021, noticing the deposition for


   1
    The Court-ordered depositions Plaintiffs were awarded as sanctions for Defendants’ discovery misconduct took
   place before the majority of merits depositions began.

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   March 19, 2021, and made arrangements with his facility to facilitate the logistics of a virtual

   deposition. On March 11, 2021, Cantwell filed his motion.

     I.   There is No Legal Basis to Deny Plaintiffs Their Right Under Fed. R. Civ. P.
          26(b)(1) to Depose Cantwell, a Named Defendant.

          As an initial matter, Plaintiffs have a right to depose each of the Defendants. See Fed. R.

   Civ. P. 26(b)(1). Cantwell argues that he should not have to sit for a deposition because, in his

   view, Plaintiffs unduly delayed his deposition. See ECF 930 at 2. But the timing of Cantwell’s

   deposition accords with the amended scheduling order and is a direct result of Cantwell’s arrest

   and prosecution. When Plaintiffs asked the Court to amend the scheduling order, Plaintiffs made

   sure to ask that Plaintiffs be permitted to depose incarcerated witnesses and parties after the close

   of fact discovery. See ECF No. 791 at 8. The Court granted Plaintiffs’ request. Id. Relying upon

   the amended scheduling order and in effort to minimize potential Fifth Amendment issues given

   Cantwell’s pending criminal charges, Plaintiffs waited until Cantwell’s trial and sentencing took

   place before scheduling his deposition.       While Cantwell’s criminal charges were pending,

   Plaintiffs properly sought and received permission to depose him. See Fed. R. Civ. P. 30(a)(2)(B);

   ECF No. 859; ECF No. 869. And within one week of Cantwell’s sentencing, Plaintiffs properly

   noticed his deposition for March 19, 2021, seven months before trial is scheduled in this case. As

   the Court noted in granting Plaintiffs’ motion for leave to depose Cantwell, Plaintiffs still have not

   had the opportunity to depose Cantwell, one of the most important Defendants to the conspiracy

   alleged in this case, and they are entitled to do so under Rule 26(b)(1). There is simply no basis

   upon which Plaintiffs should be deprived of critical evidence from a key Defendant, particularly

   where the Court has expressly granted leave for this deposition to go forward.




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       II.   There is No Legal Basis to Appoint Cantwell a “Guardian ad Litem.”

             Cantwell’s request for a “guardian ad litem to assist me in whatever obligations this abuse

   of process still imposes on me,” ECF 930 at 2, is unwarranted as a legal matter. In support of his

   request, Cantwell states he is “incarcerated, indigent, and without representation.” Id. Cantwell

   offers no cognizable legal basis that would entitle him to appointment of a guardian ad litem

   (“GAL”), let alone one appointed at Plaintiffs’ expense. And Cantwell’s incarceration and lack of

   counsel are each problems of his own making: they are a result of his own misconduct toward

   Plaintiffs’ counsel and others. Rule 17 of the Federal Rule of Civil Procedure provides that a court

   must “appoint a [GAL]—or issue another appropriate order—to protect a minor or incompetent

   person who is unrepresented in an action.” Cantwell is not a minor. And he is not, and does not

   claim to be, an “incompetent person.” 2 To the contrary, Cantwell has ably represented himself

   prior to and throughout his incarceration. Prior to his incarceration, Cantwell filed multiple


   2
     Rule 17(b)(1) provides that one’s “[c]apacity to sue or be sued” for an individual in Mr. Cantwell’s position is
   determined “by the law of the individual’s domicile[.]” Fed. R. Civ. P. 17(b)(1). Because Mr. Cantwell’s domicile is
   New Hampshire – his primary residence since the early 2010’s – New Hampshire law on competence would apply to
   this analysis. See HSBC Bank USA, Nat'l Ass'n v. Resh, No. 3:12-CV-00668, 2016 WL 270457, at *1 (S.D.W. Va.
   Jan. 21, 2016) (“This evidence indicates that prior to and during the course of this litigation, Mr. Brosnac was and still
   is domiciled in Texas. As such, Texas law should be applied in determining whether Mr. Brosnac has the capacity to
   be sued as an incarcerated individual.”); US v. Cantwell, 20-cr-06-01 PB (D.N.H., Sept. 28, 2020), ECF No. 28 at 9
   (noting Cantwell lives in Keene, New Hampshire and has lived there “since the early 2010’s”).

             New Hampshire law provides for the appointment of a GAL for a minor in a family court proceeding (see
   NH R GUARD PRAC Rule 2.2), and for the appointment of guardians or conservators for minors and the estates of
   minors (see N.H. Rev. Stat. Ann. § 463:1) and for “incapacitated persons” (N.H. Rev. Stat. Ann. § 464-A:2). For an
   adult to be appointed a guardian or conservator, the adult must suffer “incapacity” defined as a “legal, not a medical,
   disability and shall be measured by functional limitations. It shall be construed to mean or refer to any person who
   has suffered, is suffering or is likely to suffer substantial harm due to an inability to provide for his personal needs for
   food, clothing, shelter, health care or safety or an inability to manage his or her property or financial affairs. Inability
   to provide for personal needs or to manage property shall be evidenced by acts or occurrences, or statements which
   strongly indicate imminent acts or occurrences. All evidence of inability must have occurred within 6 months prior to
   the filing of the petition and at least one incidence of such behavior must have occurred within 20 days of the filing
   of the petition for guardianship . . . Isolated instances of simple negligence or improvidence, lack of resources or any
   act, occurrence or statement if that act, occurrence or statement is the product of an informed judgment shall not
   constitute evidence of inability to provide for personal needs or to manage property.” Id. Cantwell suffers no
   impairment that would render him an “incapacitated person” under New Hampshire law. Compare e.g., In re
   Guardianship of D.E., 173 N.H. 550, 552, 243 A.3d 908, 911 (2020) (noting incapacitated person suffered “‘persistent
   cognitive impairment due to an anoxic brain injury and a major [neurocognitive] disorder’”).


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   oppositions to his attorney’s motion to withdraw (ECF No. 560; ECF No. 564), filed a 255-page

   answer to Plaintiffs’ Second Amended Complaint (ECF No. 590), and successfully sought an

   extension of time to object to Plaintiffs’ motion for evidentiary sanctions against Elliot Kline,

   another Defendant (ECF No. 614).        Indeed, in his answer to Plaintiffs’ Second Amended

   Complaint, Cantwell describes himself as “an extraordinarily talented linguist, and if given the

   opportunity to fully participate in our discourse, he will impact the political outcomes in ways

   profoundly unfavorable to Plaintiffs.” ECF 590 at 96. Since his incarceration, Cantwell filed a

   status letter and motion to dismiss (ECF No. 664), a motion for accommodations, including a

   request to extend his time to respond to Plaintiffs’ Request for Admissions (ECF No. 837),

   provided a twenty-six page response to Plaintiffs’ Request for Admissions, and filed the instant

   objections to his deposition (ECF No. 930). In the absence of any evidence that Cantwell is

   incompetent, and in the face of abundant evidence to the contrary, this Court is not required to

   appoint him a GAL.


          Further, the Court should not use its discretion to appoint Cantwell a GAL under the

   circumstances of this case. As the Court is aware, Cantwell’s prior counsel, James Kolenich, who

   represents other defendants in this matter, withdrew from his representation because of Cantwell’s

   own misconduct. In Mr. Kolenich’s words, Cantwell’s conduct made “continued representation

   of him unreasonably difficult, ha[d] created a conflict of interest between himself and Attorney’s

   other clients, and ha[d] engaged in conduct Attorney’s considered ‘repugnant or imprudent’” as

   those terms are defined in the Virginia Professional Guidelines for attorneys. Id. Cantwell’s

   current incarceration stems from threats Cantwell issued on social media. In addition to the fact

   that Cantwell is neither entitled to, nor in need of any sort of representation, he should not be

   provided with a GAL or appointed counsel and find himself better-positioned for having


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   committed a crime during the pendency of this case than he would otherwise be. Under these

   circumstances, appointing a GAL would reward Cantwell for his misconduct and would create

   perverse incentives for other pro se Defendants. And to force Plaintiffs to pay for a GAL or

   counsel for Cantwell under these circumstances would be entirely unjustified. Cantwell’s request

   for a GAL should be denied.

   III.     Plaintiffs Will Agree to a Limited Continuance of the Deposition

            While there is no legal basis to deny Plaintiffs the deposition to which they are entitled, or

   to appoint a GAL for Cantwell, Plaintiffs are mindful of the fact that Cantwell is both pro se and

   currently incarcerated in federal prison. Assuming that Cantwell received the Court’s Order dated

   September 11, 2020 granting Plaintiffs leave to depose him, he has been on notice since at least

   that date that Plaintiffs intended to take his deposition and thus has had ample notice to prepare.

   However, when preparing this response to Cantwell’s submission, Plaintiffs realized that we

   served certain documents, correspondence and filings – including Plaintiffs’ Motion Seeking

   Leave to Depose Christopher Cantwell, ECF 859; as well as Plaintiffs’ Unopposed Motion to

   Extend     Certain     Discovery      Deadlines,      ECF     786     –   to    Cantwell’s      email    address

   Christopher.Cantwell@gmail.com, the email address Plaintiffs were originally provided by

   Cantwell’s former attorney as the appropriate place to serve him with correspondence and filings.

   Plaintiffs realize that Cantwell may no longer have access to that email account and should have

   also been served at the mailing address Cantwell provided in the facility where he was incarcerated,

   and that he likely did not receive certain supplemental document productions, correspondence and

   submissions. 3 In light of this confusion regarding Cantwell’s service addresses, Plaintiffs are

   happy to agree to a limited continuance of the deposition to provide Cantwell additional time to


   3
    It appears there were filings and documents Defendants also attempted to serve or produce to Cantwell’s email
   address as well since Cantwell was incarcerated that he also may not have received.

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   prepare and will re-notice the deposition for a future date. In addition, Plaintiffs will also make

   efforts to ensure that Cantwell is provided with any documents or filings that he has not received

   while in prison as soon as possible under the circumstances.

                                            CONCLUSION

           For the foregoing reasons, Plaintiffs should be permitted to depose Cantwell, a party and

   key Defendant in this case, in accordance with this Court’s prior ruling, and this Court should deny

   Cantwell’s request for a GAL. However, Plaintiffs will agree to re-notice Cantwell’s deposition

   for a future date.



   Dated: March 16, 2021                                Respectfully submitted,

                                                        /s/ Michael L. Bloch
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                                                        Julie E. Fink (pro hac vice)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on March 16, 2021, I filed the foregoing with the Clerk of Court
 through the CM/ECF system, which will send a notice of electronic filing to:

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                                   CERTIFICATE OF SERVICE

         I further hereby certify that on March 16, 2021, I also served the following non-ECF
 participants, via mail and electronic mail, as follows:

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                                                  /s/ Michael L. Bloch
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